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                                   8                                   UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                              SAN JOSE DIVISION
                                  11

                                  12     FEDERAL TRADE COMMISSION,                           Case No.17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                            ORDER DENYING MOTION TO SEAL
                                                                                             THE JOINT PRETRIAL STATEMENT
                                  14             v.
                                                                                             Re: Dkt. No. 1314
                                  15     QUALCOMM INCORPORATED,
                                  16                    Defendant.
                                  17

                                  18          Before the Court is the joint administrative motion to seal portions of the Joint Pretrial

                                  19   Statement. ECF No. 1314. Applying the compelling reasons standard, the Court orders as follows:
                                             Document                 Portions of Pages                          Ruling
                                  20
                                        Exhibit A                   ¶¶ 100, 103, 105-109                DENIED.
                                  21    Exhibit F                   Description of JX0109               DENIED.
                                  22          The parties shall refile the exhibits consistent with this order by January 16, 2019.

                                  23   IT IS SO ORDERED.

                                  24   Dated: January 15, 2019

                                  25                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  26                                                    United States District Judge
                                  27
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                                       Case No. 17-CV-00220-LHK
                                       ORDER DENYING MOTION TO SEAL THE JOINT PRETRIAL STATEMENT
